     Case 2:11-cr-00347-KJD-MDC            Document 233       Filed 04/25/16      Page 1 of 2




 1

 2

 3

 4

 5
                            UNITED STATES DISTRICT COURT
 6
                                      DISTRICT OF NEVADA
 7

 8
     UNITED STATES OF AMERICA
 9
                  Plaintiff ,                          Case No. 2:11-CR-00347-KJD-CWH
10
     v.
11                                                     ORDER
     HENRI WETSELAAR, M.D.,
12
                  Defendant.
13

14
             Presently before the Court for consideration is the Report and Recommendation (#209) of
15
     Magistrate Judge Carl W. Hoffman, Jr. entered on December 1, 2015, recommending that
16
     Defendant’s motion to dismiss and/or strike portions of count 14 of the superseding indictment based
17
     upon the running of the statute of limitations (#188) be granted in part and denied in part. Defendant
18
     filed an objection (#211) on December 14, 2015, to which the Government responded (#213).
19
            The Court has conducted a de novo review of the record in this case in accordance with 28
20
     U.S.C. § 636(b)(1) and LR IB 3-2. The Court determines that the Report and Recommendation
21
     (#209) of the United States Magistrate Judge entered December 1, 2015, should be ADOPTED and
22
     AFFIRMED.
23
            Accordingly, IT IS THEREFORE ORDERED that the Magistrate Judge’s Report and
24
     Recommendation (#209) entered December 1, 2015, are ADOPTED and AFFIRMED;
25

26
     Case 2:11-cr-00347-KJD-MDC           Document 233        Filed 04/25/16     Page 2 of 2




 1          IT IS FURTHER ORDERED that Defendant’s motion to dismiss and/or strike portions of

 2   count 14 of the superseding indictment based upon the running of the statute of limitations (#188) be

 3   GRANTED in part and DENIED in part.

 4                       25th day of April 2016
            DATED this _______

 5

 6

 7

 8

 9                                                _____________________________
                                                  Kent J. Dawson
10                                                United States District Judge

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                       2
